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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES — GENERAL

Case No. SACV 20-01963-JLS (DFMx) Date January 8, 2021

 

 

Title Kenneth Davidson v. Socal South OC, LLC et al

 

 

Present: The Honorable JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

 

 

 

Melissa Kunig None Present
Deputy Clerk Court Reporter / Recorder Tape No.
Attorneys Present for Plaintiffs: Attorneys Present for Defendants:
None Present None Present
Proceedings: (INCHAMBERS) ORDER TO SHOW CAUSE RE DISMISSAL FOR

LACK OF PROSECUTION

The Court, on its own motion, hereby ORDERS plaintiff's counsel, to show cause in
writing no later than January 12, 2021, why this action should not be dismissed for lack of
prosecution. As an alternative to a written response by plaintiff, the Court will consider the
filing of one of the following, as an appropriate response to this OSC, on or before the above
date:

Xx Proof of service of summons and complaint (however, if the deadline to Answer has
already passed, plaintiff(s) must also submit a Request for Default or Stipulation
Extending Time to Answer)

X Notice of Voluntary Dismissal (FRCivP 41)

Absent a showing of good cause, an action shall be dismissed if the summons and
complaint have not been served upon all defendants within 90 days after the filing of the
complaint. Fed. R. Civ. P.4(m). The Court may dismiss the action prior to the expiration of
such time, however, if plaintiffs have not diligently prosecuted the action.

It is plaintiff's responsibility to respond promptly to all Orders and to prosecute the action
diligently, including filing proofs of service and stipulations extending time to respond. If
necessary, plaintiffs must also pursue Rule 55 remedies promptly upon the default of any
defendant. All stipulations affecting the progress of the case must be approved by the Court.
Local Rule 8.3.

No oral argument of this matter will be heard unless ordered by the Court. The Order
will stand submitted upon the filing of a responsive pleading or motion on or before the date
upon which a response by plaintiffs is due.

 

Initials of Deputy Clerk mku

 

 

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